      CASE 0:20-cv-01715-KMM-DTS Doc. 146 Filed 11/28/22 Page 1 of 6



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

Jamal Samaha, Lauren Coleman, Jordan                Case No. 20-cv-01715-KMM-DTS
Meyer, Andy Delany, Mary Grace, Bonnie
Brown, and Jonathan Mason, individually
and on behalf of all others similarly
situated,                                           JOINT MOTION TO UNSEAL

                            Plaintiffs,

v.

The City of Minneapolis; Minneapolis
Police Lieutenant Robert Kroll, in his
individual capacity; Major Joseph Dwyer,
in his individual capacity; Officer
Samantha Belcourt, in her individual
capacity; Officer George Peltz, in his
individual capacity; Officer Sergio
Villegas, in his individual capacity; Officer
Toua Yang, in his individual capacity; and
John Does 1-100, in their official and
individual capacities,

                            Defendants.


Nekima Levy Armstrong, Marques                      Case No. 20-cv-01645-KMM-DTS
Armstrong,Terry Hempfling, Rachel Clark,
and Max Fraden, on behalf of themselves
and other similarly situated individuals,

                            Plaintiffs,

v.

City of Minneapolis; Minneapolis Chief of
Police Medaria Arradondo, in his official
capacity; Minneapolis Police Lieutenant
Robert Kroll, in his individual and official


                                                1
       CASE 0:20-cv-01715-KMM-DTS Doc. 146 Filed 11/28/22 Page 2 of 6




 capacity; and John Does 1-2, in their
 official and individual capacities,

                             Defendants.



Documents have been filed under temporary seal in connection with the following
motion:

     Stipulation for Injunction Doc. 138
     Memorandum re: Sealed Injunction Doc. 139
     Proposed Order for Injunction Doc. 140
     Statement of Confidentiality Doc. 141



Pursuant to LR 5.6, the parties submit this Joint Motion to Unseal.




                                            2
                            CASE 0:20-cv-01715-KMM-DTS Doc. 146 Filed 11/28/22 Page 3 of 6




       DKT.         DESCRIPTION OF                 PRECISELY IDENTIFY:            NONPARTY       REASON WHY
DK    NO. OF          DOCUMENT                  a) The information that the          THAT      DOCUMENT SHOULD
 T.   REDAC                                     parties agree should remain       DESIGNAT    REMAIN SEALED OR BE
NO.    TED                                      sealed;                            ED DOC.        UNSEALED i
      VERSI                                     b) The information the parties    CONFIDEN
      ON (IF                                    agree should be unsealed; and        TIAL
      FILED)                                    c)     The information about       (IF ANY)
                                                  which the parties disagree.
138            Sealed Stipulation for               Entirety should be unsealed               Parties agreed that after the
               Injunction                                                                     injunction was entered the
                                                                                              document would no longer be
                                                                                              confidential
139            Sealed Memorandum re: 138           Entirety should be unsealed                Parties agreed that after the
               Sealed Stipulation                                                             injunction was entered the
                                                                                              document would no longer be
                                                                                              confidential
140            Sealed proposed order to judge      Entirety should be unsealed                Parties agreed that after the
               re: 138 Sealed Stipulation                                                     injunction was entered the
                                                                                              document would no longer be
                                                                                              confidential




                                                               3
     CASE 0:20-cv-01715-KMM-DTS Doc. 146 Filed 11/28/22 Page 4 of 6




Dated: November 28, 2022               By: /s/Ahmed J. Davis
                                           Ahmed J. Davis (pro hac vice)
                                           davis@fr.com
                                           FISH & RICHARDSON P.C.
                                           1000 Maine Avenue, S.W. Suite 1000
                                           Washington, D.C. 20024
                                           Tel: (202) 783-5070
                                           Fax: (202) 783-2231

                                           Michael E. Florey (#0214322)
                                           florey@fr.com
                                           FISH & RICHARDSON P.C.
                                           3200 RBC Plaza
                                           60 South 6th Street
                                           Minneapolis, MN 55402
                                           Tel: (612) 335-5070
                                           Fax: (612) 288-9696

                                           William T. “Tommy” Jacks (pro hac vice)
                                           jacks@fr.com
                                           FISH & RICHARDSON P.C.
                                           111 Congress Avenue, Suite 810
                                           Austin, TX 78701
                                           Tel: (512) 472-5070
                                           Fax: (512) 320-8935

                                           Excylyn J. Hardin-Smith (pro hac vice)
                                           Hardin-smith@fr.com
                                           Meghana Thadani (pro hac vice)
                                           FISH & RICHARDSON P.C.
                                           7 Times Square, 20th Floor
                                           New York, NY 10036
                                           Tel: (212) 765-5070
                                           Fax: (212) 258-2291

                                           Ashu Balimba (pro hac vice)
                                           balimba@fr.com
                                           FISH & RICHARDSON P.C.
                                           1717 Main Street, Suite 5000
                                           Dallas, Texas 75201
                                           Tel: (214) 292-5070
                                           Fax: (214) 747-2091

                                   4
CASE 0:20-cv-01715-KMM-DTS Doc. 146 Filed 11/28/22 Page 5 of 6




                                      Teresa J. Nelson (#0269736)
                                      tnelson@aclu-mn.org
                                      Clare A. Diegel (#0400758)
                                      cdiegel@aclu-mn.org
                                      AMERICAN CIVIL LIBERTIES
                                      UNION OF MINNESOTA
                                      P.O. Box 14720
                                      Minneapolis, MN 55414
                                      Tel: (651) 645-4097

                                      Attorneys for Plaintiffs Armstrong,
                                      Armstrong, Hempfling, Clark, and
                                      Fraden


                            By: /s/ Joshua J. Rissman
                                Daniel E. Gustafson (#202241)
                                Joshua J. Rissman (#391500)
                                Frances Mahoney-Mosedale (#0402741)
                                GUSTAFSON GLUEK PLLC
                                Canadian Pacific Plaza
                                120 South 6th Street, Suite 2600
                                Minneapolis, MN 55402
                                Telephone: (612) 333-8844
                                dgustafson@gustafsongluek.com
                                jrissman@gustafsongluek.com
                                fmahoneymosedale@gustafsongluek.com

                                  Attorneys for Plaintiffs Samaha,
                                  Coleman, Meyer, Delany, Grace, Brown,
                                  and Mason




                              5
     CASE 0:20-cv-01715-KMM-DTS Doc. 146 Filed 11/28/22 Page 6 of 6




Dated: November 28, 2022            KRISTYN ANDERSON
                                    City Attorney
                                    By: /s/ Heather Robertson
                                    HEATHER P. ROBERTSON (390470)
                                    KRISTIN R. SARFF (388003)
                                    SHARDA ENSLIN (389370)
                                    Assistant City Attorneys
                                    Minneapolis City Attorney’s Office
                                    350 South Fifth Street, Room 210
                                    Minneapolis, MN 55415
                                    (612) 673-3919
                                    (612) 673-2180
                                    (612) 673-3949
                                    kristin.sarff@minneapolismn.gov
                                    sharda.enslin@minneapolismn.gov
                                    heather.robertson@minneapolismn.gov

                                    Attorneys for Defendant City of
                                    Minneapolis




                                   6
